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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiff,                                        8:16CR76

       vs.
                                                                           ORDER
RANDY CASILLAS,

                        Defendant.


        This matter is before the court on defendant's MOTION FOR ENLARGEMENT OF TIME
IN WHICH TO FILE PRETRIAL MOTIONS [78]. For good cause shown, I find that the motion
should be granted. The defendant will be given an approximate 14-day extension. Pretrial Motions
shall be filed by May 2, 2016.
        IT IS ORDERED:
        1.      Defendant's MOTION FOR ENLARGEMENT OF TIME IN WHICH TO FILE
PRETRIAL MOTIONS [78] is granted. Pretrial motions shall be filed on or before May 2, 2016.
        2.      The defendant is ordered to file the affidavit required by NECrimR 12.1(a) regarding
speedy trial as soon as practicable.
        3.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between today’s date and May 2, 2016, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act for the
reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


        Dated this 18th day of April, 2016

                                                       BY THE COURT:
                                                       s/ F.A. Gossett, III
                                                       United States Magistrate Judge
